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Jeffrey Cox (26953)

 

 

Dwayne Farnsworth (13209)
COX LAW OFFICES
P.O. Box 2324
Gilbert, Arizona 85299
Tel:(480) 820-3600
E-Mail: farnsworthcourt@gmail.com
Attorney for Debtor
UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF ARIZONA
In re ) In Proceedings Under
) Chapter Seven
DANIELLE KRISTINE LAFATA, )
) Case No. 2:19-bk-04795-PS
)
Debtor. )
DANIELLE KRISTINE LAFATA, )
)
Movant, ) MOTION TO AVOID
vs. ) JUDGEMENT LIEN
) IMPAIRING DEBTOR’S
DISCOVER BANK, ) EXEMPTION UNDER
) 11 U.S.C. § 522(f)
Respondent. )
)

 

1. Movant filed her Chapter 7 Bankruptcy on April 22, 2019.

2. Judgment was obtained in the Superior Court of Maricopa County, in favor of the
Respondent and against the Movant under case number CV2018-093000.

3. Said judgement was for an unsecured credit card debt in the amount of $46,741.82
including costs.

4. The Respondent, DISCOVER BANK, has recorded a Judgement Lien
with the County Recorder of Maricopa County, on or about October 3, 2018, Recording No:
20180744626. See attached Exhibit “A”.

5. Said lien is a Judicial Lien and avoidable under 11 U.S.C. Section 522(f).

6. This lien will impair exemptions to which the Debtor is entitled, under 11 U.S.C.

Section 522 (£)(1), if not avoided.
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WHEREFORE, Movant respectfully asks this court:
a) For an order avoided the judgment lien recorded with the Recorder of Maricopa
County, on October 3, 2018, Recording No: 20180744626;
b) that each party to bear their own fees and costs;
c) for such other and further relief as this Court deems just and equitable.
DATED this 5". day of _June_, 2019.

COX LAW OFFICES

/s/ Dwayne Farnsworth #13209
Dwayne Farnsworth

Jeffrey Cox

Attorney for Debtor
 
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zeDocument
When recorded mail to:

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Name: Guglielmo & Associates Ga.

 

Address: POB 41688
City/State/Zip: Tucson, AZ 85717-1688

this area reserved for county recorder

 

 

 

 

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1. || GUGLIELMO & ASSOCIATES
3040 N Campbell Avenue Suite 100
Tucson, Arizona 85719

(520) 325-5700 Fax (520) 325-2480
BY: Guglielmo & Associates

hw

, |] ATTORNEYS FOR PLAINTIFF
| Superior Court of the State of Arizona
2 201 W. Jefferson, Phoenix AZ 85003
5 In and for the County of Maricopa
Discover Bank, Case No.: CV2018-093000
Plaintiff
* VS.

* Danielle Krist Lafata DEFAULT JUDGMENT

zy |f John/Jane Doe Lafata (If Married),

 

 

 

 

 

 

 

 

 
 

 

. Defendant(s)
a |
1, IT IS ORDERED that Plaintiff is hereby granted Judgment against the
- Defendant(s): orc! Doser
: Danielle Krist Lafata
“| as follows:
© ll 1. Principal damages: $ 46285.25
16. |) 2. Accrued costs through date of Judgment: . $ 456.57
ue 13. Less Payments Received $ -0.00
|| 4. Attorney Fees: $ 0.00 WAIVED
_ 1] TOTAL JUDGMENT $ 46741.82 .
uy interest on the sums above at the legal rate of 5: 13%, pet annum from the date of judgment
_» |f Until paid in full, together with after-accruing taxable costs.
7 No further matters remain pending and the judgment is entered pursuant to
2
I} A.R.C.P. 54(c). LA
2 DATED this ZS" day of Jone 2018.
23
be , HONORABLE STEVEN LYNCH
* | MARICOPA COUNTY SUPERIOR COURT
ry, | SUDGE/COURT COMMISSIONER
(CE ED

394997

 

 

 

 

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for
CV2018-093000

   

    
   
   
     
  

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The foregoing instrument is a full, true and
correct copy of the original on file in this office.

Attest 9/11/2018 3:43:05 PM
CHRIS DEROSE, Clerk of the Superior Court of
the State of Arizona, in and for the County of
Maricopa.

By Georgina Castaneda-Medina, Deputy

Electronically certified as permitted by Arizona Revised Statute §12-282(D). Questions regarding the validity of
this document or seal may be directed to the Clerk of Superior Court.
